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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW MEXICO
                    Before the Honorable Steven C. Yarbrough
                         United States Magistrate Judge

                                       Clerk’s Minutes

                                     Oliver v. Meow Wolf
                                      20cv237 KK/SCY

                             Friday, October 8, 2021 at 5:00 p.m.


PLAINTIFF’S ATTORNEY PRESENT:                       Jesse Boyd

DEFENDANTS’ ATTORNEYS PRESENT:                      Breanna Contreras
                                                    Benjamin Allison

TYPE OF PROCEEDING: Telephonic Discovery Conference
                    Total Time – 35 minutes

CLERK’S MINUTES:

  •   The parties requested this informal discovery conference to discuss issues with the
      forensic analysis. The Court is not on the record. The Court wants to avoid this informal
      conference turning into a hearing when the Court does not have benefit of briefing.
  •   Mr. Allison explains that this is an issue involving the forensic expert and Plaintiff’s
      deleted emails. The parties have agreed on the protocol for the expert process. However,
      they have reached an impasse on one issue: Mr. Boyd wants a hard date by which the
      images copied by the expert (excluding images of the type of information the search is
      designed to obtain) will be destroyed. The parties agree that the non-responsive data will
      be destroyed after the expert completes his process. Mr. Allison explains, however, that
      the expert cannot rule out needing more than two weeks until he has the devices and a
      better picture of what is involved. Mr. Allison would like to set a destruction date after
      the expert gets the devices.
  •   Mr. Boyd responds. This process involves his client’s private computers. He is concerned
      that this process will be extended for an indefinite amount of time when the Court set a
      45-day deadline, which has already been extended once. Given the privacy concerns,
      Plaintiff is not amendable to a further extension. Mr. Allison explains that once the expert
      gets the devices and images, he will be able to say how long he needs to complete his
      analysis. Mr. Boyd responds that the deadline to complete forensic expert work is
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    currently October 14, 2021, but now the expert is saying he can’t complete the work by
    that deadline.
•   The Court orders Mr. Boyd to provide the devices to the expert and the expert’s target
    date for completing his work shall be within 2 weeks from receiving the devices. If the
    expert discovers something unusual, the parties can request a conference to discuss a
    further extension. Mr. Allison should advise the expert to look at the materials right
    away. If there is an issue, it needs to be raised within 5 days of the expert receiving the
    material. Mr. Boyd suggests setting an absolute date. The Court will set a target date.
•   The Court notes that this extension will likely mean the Court needs to extend other
    deadlines further. The parties should discuss and try to agree on deadlines and submit a
    proposed order. If they can’t, the Court will set a status conference at the end of October
    to discuss the deadlines.
•   Mr. Boyd asks for clarification: is the deadline for completing the forensic analysis also
    the deadline for the expert to destroy all images and data, other than emails responsive to
    the search? Mr. Allison responds that he agrees to this.
•   Mr. Boyd brings up another issue: Plaintiff issued written discovery pursuant to Court’s
    omnibus discovery order. The defense agreed to produce governing documents of the
    LLCs and corporations by today and Plaintiff has not received them yet. Plaintiff’s
    motion to compel deadline is Monday. Mr. Allison and Ms. Contreras respond that the
    documents will be produced by the end of the day. Mr. Boyd requests an extension of the
    motion to compel deadline until next Monday. Mr. Allison may have some difficulty
    meeting and conferring over next week. The Court will extend the motion to compel
    deadline by 2 weeks.
•   Mr. Boyd addresses one final issue: The Court’s order on the original motion to compel
    required production of revenue information through the present. Defendants have
    provided limited information through 2020, not the present. Mr. Boyd would like updated
    information. Mr. Allison responds that there is no dispute about supplementing the
    revenue information. He can discuss with Mr. Boyd deadlines for supplements so they
    are not supplementing every month. The Court suggests that the parties should discuss
    what interval is reasonable for supplementing. If the parties need another status
    conference or hearing they can reach out to chambers.
